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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

  Brock Fredin,

                           Plaintiff,          Court File No. 17-cv-03058 (SRN/HB)

  v.

  Lindsey Middlecamp,

                           Defendant.




  Brock Fredin,

                           Plaintiff,           Court File No. 18-cv-466 (SRN/HB)

  v.

  Grace Miller, and
  Catherine Schaefer,

                           Defendants.




                   MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO
                     DECLARE PLAINTIFF A VEXATIOUS LITIGANT

         Defendants Lindsey Middlecamp, Grace Miller, and Catherine Schaefer, by and

through their undersigned Counsel, hereby submit this memorandum in support of their

motion to declare Plaintiff Brock Fredin a vexatious litigant.




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                                     INTRODUCTION

         Plaintiff Brock Fredin is a serial harasser who has moved his abusive tactics from

cyber-stalking to vexatious litigation. After having multiple restraining orders entered

against him, he has flooded this court and others with inflammatory, offensive pleadings

and frivolous motion practice. He has filed twelve lawsuits in the course of three years, all

casting himself as the victim where in fact he is the perpetrator. His pleadings are full of

misogyny, conspiracy theories, and threats of further retaliation against not only the

defendants in this case, but their attorneys, judicial officers, and even the Court’s clerks. In

recent months, he has followed through on some of those threats, registering and creating

at least twenty-two defamatory websites to harass judges, clerks, Defendants’ attorneys,

and even jurors and a court clerk.

         Fredin’s conduct—undeterred despite sanctions, dismissals, unsuccessful appeals,

and even two criminal convictions arising from his harassment—has been aimed at a

singular goal: not vindicating any legitimate legal interests, but instead retaliating against

each and every person who has had any role holding him accountable for his misconduct.

Because this pattern of bad faith litigation (and harassment of anyone involved in that

litigation) will continue without this Court putting protections in place, Defendants

respectfully ask the Court to declare Fredin a vexatious litigant and require leave of the

Court prior to initiating any new suits against Defendants.




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                   FACTUAL AND PROCEDURAL BACKGROUND

    I.        FREDIN HAS SPENT YEARS HARASSING DEFENDANTS.

         Defendants adopt and incorporate by reference the factual background set forth in

the motions for summary judgment filed in these actions. (17-CV-3058, Doc. 180; 18-CV-

466, Doc. 172.)

         Middlecamp, Miller, and Schaefer have separately sought and have been awarded

restraining orders against Fredin: first, in the form of two-year restraining orders. After

each establishing multiple violations of their two-year restraining orders, Middlecamp,

Miller, and Schaefer were each subsequently awarded 50-year restraining orders.

Defendant Middlecamp’s 50-year HRO is in the record at 17-CV-3058, Doc. 181-2.

Defendant Miller’s 50-year HRO is attached as Exhibit 1 to the Decl. of K. Jon Breyer.

Defendant Schaefer’s 50-year HRO is attached as Exhibit 2 to the Decl. of K. Jon Breyer.

         Despite having restraining orders issued against him prohibiting Fredin from further

harassment, Fredin has filed thousands of pages of pleadings across twelve lawsuits,

numerous appeals, and writs either naming Defendants directly or including allegations

regarding Defendants. The pleadings index below sets forth the filing dates and disposition

of Fredin’s suits and appeals that name Defendants as direct parties. However, the index

does not account for the hundreds of pages of amended pleadings, correspondence to the

Court, and motion practice.

 Filed Date         Caption                  Description                  Disposition

 April 15, 2016     Miller v. Fredin, A16-   Fredin appealed Miller’s     HRO Affirmed
                    0613 (Mn. Ct. App.)      2-year HRO to Minnesota      on January 23,
                                             Court of Appeals             2017

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 June 5, 2017      Fredin v. Middlecamp,     Fredin commenced state      Administratively
                   62-CV-17-3994             court defamation action     closed
                   (Ramsey County            against Middlecamp
                   District Court)
 July 18, 2017     Fredin v. Middlecamp,     Fredin commenced            Summary
                   17-3058 (D. Minn.)        Federal defamation action   Judgment
                                             against Middlecamp          Pending

 October 20,       Middlecamp v. Fredin, Fredin appealed                 Dismissed on
 2017              A17-1646 (Mn. Ct.     Middlecamp’s 2-year             November 12,
                   App.)                 HRO to Minnesota Court          2017 for failure
                                         of Appeals                      to pay fees by
                                                                         Fredin

 July 9, 2018      Schaefer v. Fredin,       Fredin appealed Ramsey      Dismissed on
                   A18-1090 (Mn. Ct.         County order finding        August 21, 2018
                   App.)                     Fredin in contempt of
                                             Schaefer’s 2-year HRO

 July 16, 2018     Fredin v. Miller, et. al, Fredin commenced            Summary
                   18-466 (D.Minn.)          Federal action against      Judgment
                                             Miller and Schaefer         Pending

 February 22,      Fredin v. Clysdale, et.   Fredin commenced            Dismissed on
 2018              al, 18-CV-510 (D.         successive federal suit     February 21,
                   Minn.)                    against Miller, Schaefer,   2019
                                             and Middlecamp in
                                             addition to other parties

 May 18, 2018      Fredin v. Schaefer,       Fredin commenced a          Denied by
                   2018CV000190 (St.         restraining order action    Wisconsin state
                   Croix County,             against Schaefer in         court
                   Wisconsin)                Wisconsin state court,
                                             without notifying the
                                             Wisconsin state court of
                                             the pre-existing
                                             restraining order against
                                             him.




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 April 8, 2019     Fredin v. Clysdale, et.     Fredin appealed to Eighth   Dismissal
                   al, 19-1726 (8th Cir.)      Circuit following           affirmed on
                                               dismissal                   February 20,
                                                                           2020

 April 26, 2019    Schaefer v. Fredin          Fredin appealed             Harassment
                   (Mn. Ct. App.)              Schaefer’s 50-year          Restraining
                                               restraining order to the    Order affirmed
                                               Minnesota Court of          on April 20,
                                               Appeals                     2020

 October 13,       In Re Fredin, A19-          Writ of Prohibition         Denied
 2019              1642 (Mn. Ct. App.)         related to Middlecamp
                                               HRO

 November 8,       Fredin v. Street, et. al,   Fredin commenced a          Dismissed on
 2019              19-CV-2864 (D.              successive federal suit     May 5, 2020
                   Minn.)                      naming Middlecamp as
                                               party

 November 14,      In Re Fredin, A19-          Petition for MN Supreme     Review denied
 2019              1642 (Mn. Sup. Ct.)         Court Review of Writ of
                                               Prohibition

 November 14,      Fredin v. Miller, 19-       Fredin commenced a          Voluntarily
 2019              CV-2907 (D. Minn.)          successive federal suit     dismissed on
                                               naming Miller as party      November 25,
                                                                           2019
 December 9,       Fredin v. Miller, et. al, Fredin commenced a            Dismissed June
 2019              19-CV-3051 (D.            successive federal suit       10, 2020
                   Minn.)                    against Miller, Schaefer,
                                             and Middlecamp in
                                             addition to other parties

 April 6, 2020     Middlecamp v. Fredin, Fredin appealed                   Pending panel
                   A20-0539 (Mn. Ct.     Middlecamp’s 50-year              review
                   App.)                 HRO to Minnesota Court            November 12,
                                         of Appeals                        2020

 May 25, 2020      In Re Brock Fredin,         Writ of Mandamus action     Denied May 28,
                   20-2034 (8th Cir.)          related to actions          2020



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                                               involving Middlecamp,
                                               Miller, and Schaefer

 July 14, 2020      Fredin v. Miller, et. al   Appeal by Fredin to        Pending motion
                    20-2426 (8th Circuit)      Eighth Circuit of          to show cause
                                               dismissal                  for failure to
                                                                          prosecute


         In addition to the suits and appeals naming Defendants directly, Fredin has taken

care to include allegations against the Defendants in his pleadings, motions, and appeals

even where the cases do not name the Defendants as parties.

         For example, in his unsuccessful lawsuit against members of the St. Paul City

Attorney’s office, Fredin made a variety of conspiracy theory allegations against

Middlecamp, Miller, and Schaefer, who were not parties to the suit:

         Major Grace Miller admitted to coaching a second baseless pile-own allegation to
         corroborate her claims. This allegation came from her personal friend, Catherine
         Schaefer, who had never met, spoken to, or known Plaintiff. Indeed these same
         tactics are being used against District of Columbia (DC) circuit Hon. Judge Brett
         Cavanaugh to collaterally attack his nomination to the United States Supreme Court.
         And, most importantly, Lindsey Middlecamp generated a fictitious rape allegation
         published to millions of people via @CardsAgstHrsmnt in conjunction with a false
         City Pages article. Lindsey Middlecamp is on the board of directors for a
         Washington, DC based organization that coordinates and secretly plans most
         #metoo style feminist take down campaigns.

(Fredin v. Olson et. al, 18 CV 2911 (D. Minn.), Doc.1 at 9.)

         Similarly, in his unsuccessful suit against his former attorneys for malpractice,

Fredin’s Complaint begins with the allegation that “a desperate Assistant Minneapolis City

Attorney named Lindsey Middlecamp began obsessively stalking Plaintiff and unlawfully

leaking, using her public position, confidential Appellate decisions and posting obsessive



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tweets on her personal anonymous revenge porn blog…” (Fredin v. Hallberg Criminal

Defense et al, 19-CV-3068 (D. Minn.), Doc. 1 at 4.)

          Even appealing the dismissal of that case, Fredin used his brief to highlight tirades

against non-parties, alleging “[Judge Bowbeer] takes great care in protecting other German

women like known racists and anti-semite’s Lindsey (Myers) Middlecamp, Grace Miller,

and Catherine Schaefer and took even greater care to favor their German lawyer Karl

Johann Breyer – believed to be the direct descendant of Auschwitz guard Johann Breyer.”

(Fredin v. Hallberg Criminal Defense et al, 20-2205 (8th. Cir.), Appellant’s brief at 24.)

          Most recently, Fredin has filed a Complaint and an Amended Complaint against a

third party rape victim. (Fredin v. J.K., 20-CV-1929 (D. Minn.)) In both the Complaint and

Amended Complaint, Fredin alleges at length that J.K. conspired with Defendants

Middlecamp, Miller, and Schaefer to commit a variety of torts against Fredin.

    II.       FREDIN EXTENDS HIS HARASSMENT TO JUDICIAL OFFICERS,
              ATTORNEYS, JURORS, CLERKS, AND EVEN A COURT REPORTER

          In the months that followed the October 2, 2017 entry of Middlecamp’s 2-year

HRO, Fredin registered and created a number of websites where he published defamatory

aspersions against a number of individuals. Included among those websites were websites

attacking Defendant Schaefer, Defendant Miller, and additional sites attacking Ramsey

County District Court Referee Elizabeth Clysdale (who had presided over Middlecamp’s

HRO proceeding) and attorney Karmen McQuitty (who had represented Defendant Miller

in her HRO proceeding.) See Breyer Decl., Exhibit 3. Under oath, Fredin denied

knowledge of these websites. (See Breyer Decl., Exhibits 4, 5.) In a separate proceeding,


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he pled the fifth rather than answer questions about the websites. (See Breyer Decl.,

Exhibit 6 at 190-202.)

         In recent months, Fredin has again elected to harass judicial officers and others who

have any connection to the HRO proceedings or other litigation involving Defendants

Middlecamp, Miller, and Schaefer. On October 7, 2020, Defendants discovered that

between July 2020 and September 2020, Fredin has registered and created over twenty-

two (22) individual websites which disparage and attack the individuals listed below. Each

site contains photographs of the individuals, professional and personal details, and a variety

of baseless, inflammatory attacks. See Breyer Decl., Exhibit 7.

              1. JudgePatrickDiamond.com, registered on July 22, 2020. Judge Diamond is
                 a Ramsey County District Court Judge who presided over HRO
                 proceedings involving Fredin and Defendants.

              2. KeithSellen.com, registered on July 22, 2020. Fredin identifies Sellen as the
                 director of the Wisconsin Office of Lawyer Regulation, and appears to
                 target him because the OLR dismissed Fredin’s professional complaints
                 against Defendants’ attorney.

              3. SusanHumiston.com, registered on July 22, 2020. Fredin identifies
                 Humiston as the director of the Minnesota Office of Lawyers Professional
                 Responsibility, and appears to target her because the OLPR dismissed
                 Fredin’s professional complaints against Defendant Middlecamp and
                 Defendants’ attorney.

              4. JonathanZeisser.com, registered on July 22, 2020. Fredin identifies Zeisser
                 as an investigator with the Wisconsin Office of Lawyer Regulation, and
                 appears to target him because the OLR dismissed Fredin’s professional
                 complaints against Defendants’ attorney.

              5. ThomasSipkins.com, registered on July 23, 2020. Fredin identifies Sipkins
                 as the Executive Secretary of the Minnesota Judicial Standards Board, and
                 appears to target him for failing to discipline Judge Sophia Vuelo.



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              6. AttorneyPeterMayer.com, registered on July 25, 2020. Peter Mayer is an
                 attorney who represented Defendant Schaefer in her HRO proceedings.
                 Metadata for the site reveals that Fredin titled the photo of Peter Mayer
                 with the filename “fag2.png.”

              7. YamyVang.com, registered on July 27, 2020. Vang is a prosecutor in the
                 St. Paul City Attorney’s Office who was involved in criminal prosecution
                 involving Fredin’s conduct against Defendants.

              8. ClerkAnnMarieOneill.com, registered on August 4, 2020. Fredin identifies
                 O’Neill as the clerk of the Minnesota Appellate Courts, and appears to
                 target her for the Court of Appeal’s adverse decisions against Fredin in
                 matters involving the Defendants.

              9. JudgeJeffreyBryan.com, registered on August 4, 2020. Fredin identifies
                 Judge Bryan as a Minnesota Court of Appeals Judge, and appears to target
                 her for the Court of Appeal’s adverse decisions against Fredin in matters
                 involving the Defendants.

              10. ElizabethClysdale.com, registered on August 4, 2020. Judge Clysdale is a
                  referee for Ramsey County District Court and presided over Defendant
                  Middlecamp’s 2017 HRO proceedings.

              11. JudgeKevinGRoss.com, registered on August 4, 2020. Judge Ross authored
                  a Minnesota Court of Appeals decision upholding Miller’s HRO against
                  Fredin.

              12. LyndseyOlson.com, registered on August 4, 2020. Olson is a prosecutor in
                  the St. Paul City Attorney’s Office who was involved in criminal
                  prosecution involving Fredin’s conduct against Defendants.

              13. JudgeDiamond.com, registered on August 9, 2020. This is a second site
                  created by Fredin to attack Judge Diamond.

              14. JudgeVuelo.com, registered on August 9, 2020. Judge Vuelo presided over
                  the criminal case against Fredin involving his stalking of Defendant Miller.

              15. JusticeMatthewWCooper.com, registered on August 16, 2020. Justice
                  Cooper has no connection to Fredin; rather, he is connected to legal
                  proceedings involving Fredin’s friend Anthony Zappin.




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              16. CareyBollinger.com, registered on August 31, 2020. Bollinger served on
                  the jury that convicted Fredin of stalking Defendant Miller. Fredin attacks
                  Bollinger’s appearance, professional qualifications, and integrity.

              17. IreneZon.com, registered on August 31, 2020. Fredin identifies Zon as a
                  Ramsey county Court Reporter, and appears to target her for her role in
                  proceedings involving Fredin and Defendants.

              18. NicoleSZemborski.com, registered on September 14, 2020. Fredin
                  identifies Zemborski as a former clerk to Judge Diamond.

              19. NicoleCornale.com, registered on September 14, 2020. This appears to be a
                  duplicate site to NicoleSZemborski.com, suggesting Fredin investigated
                  alternative names to attack Judge Diamond’s former clerk.

              20. AttorneyJacquelinePerez.com, registered on September 15, 2020. Perez
                  appears to have been targeted based on her experience as a clerk for Judge
                  Diamond

              21. KJonBreyer.com, registered on September 18, 2020. K. Jon Breyer is the
                  attorney to Defendants Middlecamp, Miller, and Schaefer.

              22. JudgePatrickCDiamond.com, registered on September 18, 2020. This is the
                  third website Fredin made attacking Judge Diamond under an additional
                  URL.


         In sum, each of these individuals (save for one) is connected to the HRO

proceedings or other litigation involving Fredin and Defendants Middlecamp, Miller, and

Schaefer, and for no reason other than their role as judicial officers, jurors, clerks,

attorneys, or reporters, do they find themselves in Fredin’s indiscriminate cross-hairs.




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                                            ARGUMENT

         I.        PLAINTIFF IS A VEXATIOUS LITIGANT

         The right of access to the court is not absolute or unconditional. See Green v. White,

616 F.2d 1054, 1055–56 (8th Cir. 1980). Defendants have a right to be free from

“harassing, abusive, and meritless litigation,” and federal courts have “a clear obligation to

exercise their authority to protect litigants from such behavior.” In re Tyler, 839 F.2d 1290,

1293 (8th Cir. 1988). An injunction may issue against a plaintiff who exhibits “a propensity

for filing numerous meritless and vexatious lawsuits which clutter the docket of this court

and put defendants to the time and expense of answering frivolous and frequently

incomprehensible allegations.” Brown v. Gibson, 571 F. Supp. 1075, 1077 (W.D. Mo.

1983); see In re McDonald, 489 U.S. 180 (1989); Nelson v. Butler, 929 F.Supp. 1252,

1260; Kaminetzky v. Frost Nat. Bank of Houston, 881 F. Supp. 276, 277 n. 1 (S.D. Tex.

1995) (citing cases enjoining certain litigants from filing pleadings and complaints when

necessary to deter vexatious and frivolous litigation).

         Here, Fredin has demonstrated a propensity for vexatious litigation. His suits are

numerous and voluminous, and he has filed new suits even before earlier suits are resolved

on the merits. Within each suit, his tactics with regard to motion practice, amending

pleadings, and discovery all demonstrate bad faith. His language is intentionally

inflammatory and abusive. Despite all of the foregoing, he has been given ample

opportunity to have not only one day in court, but years’ of consideration of his claims.




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                   A. Fredin has filed twelve lawsuits and numerous appeals all related to
                      the same general events and issues.

         The number of suits a party files is not dispositive on the question of whether they

are vexatious. However, the sheer number of lawsuits Fredin has filed (twelve) and the

amount of overlap and redundancy of his claims are staggering. Every single lawsuit and

appeal Fredin has filed in the past three years includes allegations and aspersions regarding

Defendants Middlecamp, Miller, and Schaefer, even if they are not named as a party. Every

lawsuit relates to events surrounding Defendants reporting Fredin’s harassment, seeking

restraining orders, and/or the criminal prosecutions and media coverage related to the same

issues. Instead of waiting for his first two federal lawsuits against Defendants to conclude

on the merits, Fredin filed successive, overlapping claims and appeals to ensure a constant

barrage of filings against Defendants, with voluminous pleadings and zero evidence. It is

not merely a matter of impatience that leads Fredin to file new suits while his original suits

remain pending, but rather the vindictive purpose of bombarding defendants in bad faith.

                   B. Minnesota state courts have already issued final orders finding that
                      Fredin is a serial harasser.

         In addition to the volume of pleadings alone, there are other circumstances and

factors that reveal Fredin’s bad faith and weigh in favor of imposing an order preventing

further frivolous litigation. First and foremost, Defendants ask the Court to consider the

prior court findings that have declared Fredin a serial harasser.

         Fredin is enjoined by three separate 50-year restraining orders that seek to protect

each of the Defendants from any contact by Fredin. (17-3058, Doc. 181-2; Breyer Decl.

Exs. 1, 2.) Fredin has had full opportunity to present evidence, cross examine the

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Defendants, and appeal those orders on a number of occasions: in 2016 and 2017, when

each of the Defendants separately sought and obtained 2-year restraining orders against

Fredin; and later, when each of the Defendants separately established that Fredin had

violated each of those orders on multiple occasions, and obtained subsequent 50-year

restraining orders.

         Many hours of evidentiary hearings have been held on the issue of Fredin’s

harassment. At each turn, the state courts properly concluded Fredin had engaged in

harassment severe enough to warrant multiple 50-year restraining orders. He has been

found in contempt on multiple occasions for violating HROs, and criminally prosecuted

and convicted twice for violating them. His harassing activities included writing

disparaging communications and complaints to Defendants’ friends, colleagues, and

employers for the purpose of harassing Defendants, and making hate-filled websites

dedicated to each of the Defendants. See Breyer Decl. Exhibit 18 at ¶¶ 6, 26, Order finding

Fredin in contempt and the creator for various disparaging websites.

         Unfortunately, Since 2017 vexatious litigation has served as a consistent loophole

for Fredin to sidestep the protections of those restraining orders. Instead of making hate-

filled websites and directing e-mails to employers or other persons in Defendants’ lives, he

now files voluminous screeds in his lawsuits, which the Defendants are required to read

and respond to. Indeed, two state court orders have specifically found that Fredin has used

litigation as a form of contact and harassment. (Breyer Decl., Exhibit 8 at 7-10 (October

1, 2018 Order by Ramsey County District Court Judge Diamond finding that a Wisconsin

suit commenced by Fredin was knowingly and intentionally misleading to the Wisconsin

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court and was designed to communicate with and harass Schaefer); see also 17-CV-3058,

Doc. 181-2 (finding in support of Middlecamp’s 50-year restraining order that Fredin uses

litigation to harass.))

                   C. The abusive language of Fredin’s filings evidence Fredin’s bad faith.

         The harassing purpose of Fredin’s litigation is also evident from the contents of

Fredin’s pleadings, correspondence, and declarations. As this Court is well aware, Fredin’s

filings are replete with inflammatory language and an unending stream of ad hominem

attacks. In the course of his submissions, Fredin has, for example:

               • commented upon each of the defendant’s sexual orientations (for example,
                 he has called Miller a lesbian (she is not); accused Miller and Schaefer of
                 having an affair (they have not); and in turn, questioned Middlecamp being
                 queer (she is));

               • commented on Defendant Miller’s physical appearance, calling her “manly”
                 and linking to a photograph of her that he deems masculine (See 18-CV-466,
                 Doc. 180 at 13);

               • referred to Middlecamp as a real world “Lord Voldemort.” (See Appellant’s
                 Brief, 19-1726 (8th Cir.) at 5);

               • referred to Defendant Schaefer as “psychotic,” “violent,” and an “infant who
                 cannot handle criticism” (18-CV-466, Doc. 180 at 9);

               • repeatedly accused each of the Defendants of “identity rape,” terrorism,
                 catfishing, torture, revenge pornography, and other criminal conduct;

               • made unsupported claims about the Defendants’ mental health and
                 disciplinary records;

               • asserted Defendants have been fired from employment when they have
                 not; (see, e.g., Breyer Decl., Exhibit 9 at 3 (Fredin’s sanction motion, later
                 denied by the Ramsey County district court, alleging baselessly that
                 Middlecamp was fired from the City of Minneapolis);



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               • repeatedly connected Defendants and their attorneys to racism and
                 antisemitism despite their commitment to social justice; and

               • blamed the Defendants for all manner of tragic events, ranging from his
                 mother’s stroke to the death of George Floyd.

         In addition to insults and disparagement, Fredin’s inflammatory language extends

to threats of his future actions. For example, in correspondence dated June 10, 2020, Fredin

did not limit his request to the ostensible purpose (seeking leave to bring a motion to

reconsider.) Instead, he included threats directly for Defendants’ eyes: “I will be filing a

new lawsuit specific to the fifty-year petitions Defendants fraudulently brought against me.

I will not cease until Defendants face accountability for their violent actions.” (19-3051,

Doc. 95 at 2.) In another recent filing, from August 2020, Fredin wrote:

         “[his] biggest regret in life is not publishing a website immediately in 2017 through
         present exposing Ms. Middlecamp or her incredibly creepy and sycophant husband
         David. Indeed, David Middlecamp stores and publishes naked photos of black men
         and underage boys in concert with his wife. In 2020, Appellant will do so regardless
         of any unconstitutional order from this court.”

(Breyer Decl., Exhibit 10 at 10-11.) He concluded that particular tirade by stating that

Defendant Middlecamp is “most certainly going to hell.” (Id.) None of these threats further

Fredin’s legal claims; instead, they are designed to intimidate and harass.

         Fredin’s scattershot approach is so generalized that Fredin has employed “copy and

paste” to bring identical aspersions against whichever party he is pleading against. For

example, in July 2017, Fredin wrote of Middlecamp: “Apart and aside from her law

practice, Defendant Middlecamp is a militant feminist bent on pressing forward a radical

sexist agenda and desperate for attention.” (17-CV-3058, Doc. 1 at 2.) In February 2018,

he regurgitated the same sentence against Defendant Miller: “Apart and aside from her

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military career, Defendant Miller is also a militant feminist bent on pressing forward a

radical sexist agenda and desperate for attention.” (18-466, Doc. 1 at 9.)

                   D. Fredin’s suits are designed to keep Defendants in fear of continued
                      stalking by Fredin.

         Even when Fredin’s language is restrained, his pleadings are designed to keep

Defendants in fear of continued stalking. As to each of the Defendants, Fredin has taken

great care to list Defendants’ former employers, current employers, their educational

background, the types of degrees they hold, and their places of residence. He does this not

because it has any bearing on his claims, but instead to convey a clear message to the

Defendants: I know where you live. I know where you work. I have not stopped watching

you.

         In 2017, Defendant Middlecamp moved to strike certain identifying details from

Fredin’s first complaint against her, arguing they were designed to invade her privacy and

threaten her safety. The Court granted that request in part, advising Fredin in April of 2018

that Defendant Middlecamp’s exact home address, educational background, and place of

employment had “no logical connection” to his claims and should be stricken from the

record. (17-CV-3058, Doc. 30 at 8). In defiance of that admonition, Fredin included the

same details, as well as additional identifying details, in his next complaint against

Middlecamp, and has included the same excessive identifying details against the other

Defendants. (See 19-cv-03051, Doc. 1 at 3-4).

         Fredin’s evolving pleadings regarding Defendants Schaefer and Miller provide a

perfect illustration of how this accomplishes Fredin’s purpose of keeping Defendants in


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fear of continued stalking. In his initial February 2018 suit against Schaefer, Fredin

identifies Schaefer’s home address in Pennsylvania but no other details. In his next suit

against Schaefer, he adds that she has a PhD from Penn State University. (19-CV-3051,

Doc. 1 at 4.) More recently, in his Complaint against J.K, Fredin wrote, “Plaintiff then used

publicly available search tools to identify that Catherine Schaefer managed all PhD level

research originating from the University of Minnesota Program in Sexual Health during

overlapping time periods.” That information only became available online in late 2019.

Fredin’s inclusion of that information is designed to signal to her that he continues to watch

her every move.

         Fredin has done the same to Miller through his pleadings. He first described Miller

as follows: “Defendant Miller is a Major in the United States Air Force and commands the

Aircraft Maintenance Squadron at the 934th Airlift Wing for the Minneapolis-St. Paul Air

Reserve Station. In addition, she just finished her PhD in English Literature at the

University of Minnesota.” (18-CV-466, Doc. 1 at 6.) In his next suit against Miller filed

in December 2019, Fredin added the detail that Miller holds two master’s degrees in

addition to her PhD and lectures at the University of Minnesota. (19-cv-03051, Doc. 1 at

3-4). Most recently, on August 20, 2020, Fredin submitted two filings (a letter and a brief)

both including additional details about Defendant Miller’s more recent employment

changes. (See 17-3058, Doc. 186 at 2)(“…Defendant Miller is believed to be a current Air

Force liaison to the United States Senate or House of Representative,”) see also (18-466,

Doc. 180 at 7-8 (“Grace Miller is a United States Air Force Major, commander of the 934th

Airlift Wing, (former) instructor at the Air Force Academy, and current Air Force liaison

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officer to the United States Senate.”)) Significantly: Miller’s appointment as an Air Force

liaison has not even yet been confirmed, nor is it posted publicly anywhere. In fact, Miller

had avoided making any public announcements regarding the position in order to avoid

Fredin’s discovery. Fredin does not include these details in order to further any legal claim;

instead, he includes them to communicate to her that he is keeping close tabs on her every

educational and professional move, and wants her to know it.

                   E. Fredin shows extreme disdain and disrespect for the Court and its
                      staff

         As of late, Fredin has also begun evidencing his disdain for this Court and others.

While he initiated these suits using appropriately formal language, he now refers to the

presiding judicial officers in this matter as “Ms. Nelson” and “Ms. Bowbeer,” calling for

both judicial officers to retire, and directing demands of action to their judicial clerks.

         In his most recent filing to the Minnesota Court of Appeals, Fredin included the

following passage:

         This [c]ourt’s failure to protect is despicable. Every single clerk, staff, and judge
         is going to be exposed in the tabloid media as a racist and have their career impacted
         and professional livelihoods tanked in the exact same tactics that Lindsey
         Middlecamp uses on her victims…

         …In addition, you will be reported to the Professional Responsibility and Judicial
         Standards Commission for failure to protect….

         …Dianne Bratvold and Jeffrey Bryan’s dreams of becoming a Minnesota Supreme
         [c]ourt associate justice are now dashed. Indeed, deep state Mr. Bryan “co-signed”
         the original bogus unconstitutional HRO to gag Appellant and cover up a violent
         raid. Mr. Bryan also served with Referee Clysdale – who originally presided over
         hearings - in several Ramsey County law associations and hatched a scheme to work
         together to destroy Appellant’s civil rights based on their incestuous relationship
         with Minneapolis and Ramsey county officials like Ms. Segal. Mr. Bryan is a co-
         conspirator in Middlecamp’s torture and domestic terrorism. Mr. Bryan’s assertions

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         of absolute judicial immunity certainly will not absolve Mr. Bryan of any of his
         wrongdoing. Mark these words, Mr. Bryan and Ms. Bratvold’s elevation to the
         Minnesota Supreme [c]ourt or any federal court will never happen. If the court has
         any doubt to the veracity of these assertions, Appellant directs the [c]ourts attention
         to Kevin G. Ross. Appellant has written weekly to the Judicial Selection
         Commission describing Mr. Ross by exposing him for abusing his ex-wife and
         trying to steal her alimony by attempting to rig an appeal before this [c]ourt. Mr.
         Ross’s unbelievably improper opinion in January 2017 – leaked by Middlecamp
         through Lori Gildae’s clerk Emily Mawer – will go down as the single dumbest
         decision Mr. Ross has ever made (and there are many to choose from including
         appealing his own matrimonial order to this court). This [c]ourt, including its clerks,
         and staff is now cursed for the next three hundred (300) years. If you want, call it a
         Billy Goat curse or the curse of the Bambino. Appellant has engaged in a ceremony
         with religious experts.

(Breyer Decl. Exhibit 10 at 3-4). He later reiterates:

         Remember, each clerk is going to get reported to the Professional Responsibility
         Board and websites are going up exposing you for your failure to protect.

(Id. at 10-11.)

         As set forth above on pages 6 and 7 herein, Fredin has apparently followed through

on those threats. He has registered the domain names and created at least twenty-two

different websites to harass a variety of judges, attorneys, clerks, jurors, and even a court

reporter. These insults include grotesque commentary on a juror’s appearance and body

odor, a judge’s “effeminate” “creepy” voice, embedded reference to an attorney as a “fag,”

accusation of sexual and criminal misconduct by a judge, and other photos or youtube

videos labeling his targets racist.

         Of course, none of his disdain or threats have anything to do with his alleged claims.

Fredin seems to be incapable of restraint, littering his pleadings with extraneous jabs and

outrageous language. If this is not the hallmark of an individual whose litigation is

vexatious and harassing, it is hard to imagine what is.

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                   F. Fredin’s social media postings demonstrate the bad faith purpose of
                      his litigation.

         Fredin has repeatedly written about his litigation on social media in ways that

demonstrate his bad faith:

               • Fredin tweeted in May of 2018: “Their pro bono representation is next.
                 Dropping some legal bombs on them…” within minutes of referring to
                 Defendant Middlecamp as “autistic” and writing of Defendant Schaefer as
                 someone “no one would drill.” (Breyer Decl., Exhibit 11.)

               • In September 2019, Fredin tweeted, “Dismiss one of my lawsuits and two
                 shall take its place.” (Breyer Decl., Exhibit 12.)

               • At some point in 2019, Fredin edited his twitter profile to read, “I take
                 down lawyers for a living.” (Id.)

               • In January 2020, Fredin tweeted repeatedly about his lawsuits, threatening
                 to “destroy the Frankish empire” with “lawsuitboats,” and boasting: “I
                 know all of your legal tricks and doctrines. I also have perfect timing to
                 employ these against you. You will suffer as I have suffered,” and “I am
                 always one step ahead of them. It is almost like I have a legal sixth (6)
                 sense or some divine intervention. :)” (Id.)

               • On January 21, 2020, Fredin tweeted, “I don’t care if I get sanctioned.”
                 (Id.)

         Fredin has also repeatedly uploaded his most inflammatory pleadings to hosting

platforms in an effort to ensure others can access them without having a Pacer account,

thereby maximizing his audience while also ensuring only his portion of the story reaches

public eyes:

              • The five websites Fredin made in late 2017 all contained links to Fredin’s
                pleadings—including Middlecamp’s employment details and home
                address—apparently in hopes that his allegations could reach wider public
                audiences rather than be behind the ECF paywall. (See Breyer Decl.,
                Exhibit 3 (each containing hyperlinks to hosted pleadings).)



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              • In April 2018, Fredin uploaded a filing from one of his federal suits to
                scribd.com, a third-party hosting site with no paywall. Shortly thereafter,
                his friend Anthony Zappin authored a tweet containing a link to the upload,
                and directly tagged Defendant Middlecamp in his tweet, writing “Because
                the public shouldn’t have to pay 10 cents per page to read about illegal
                conduct of “feminist” Lindsey Middlecamp.” Within minutes, Fredin
                himself had tweeted, “In the words of Wheeler Walker Junior fuck you,
                bitch.” (Breyer Decl., Exhibit 13).

              • In May 2018, Fredin uploaded a different federal filing to scribd.com.
                Fredin then solicited attention to that filing by tagging a number of users on
                Twitter to his post, including Donald Trump, media personality Tucker
                Carlson, and most significantly, an account associated with Defendant
                Miller’s employment (@934airliftwing). (Breyer Decl., Exhibit 11 at 5.)
                Fredin did not do so to vindicate legal interests; instead, he did so in hopes
                that his litigation claims may gain public attention and at the least, attention
                by Miller’s employer.

              • When Fredin was forced by the Ramsey County district court to remove the
                websites linking his pleadings, his friend, Anthony Zappin, subsequently
                uploaded additional federal court documents to a public hosting site
                scribd.com and, as recently as November 2019, did so again on a second
                hosing website called idoc.pub. (Breyer Decl., Exhibit 14.)

         The foregoing pattern demonstrates that Fredin hopes to use lengthy,

inflammatory pleadings as stand-ins for personal blog posts. He prefers court filings to

having his own personal blog because pleadings appear official and therefore legitimate.

Indeed: who would put something in a court filing if it were not true? Tellingly, Fredin

does not separately publish or upload orders that are adverse to him, dismissals, rejected

appeals, or pleadings by the Defendants. Instead, he cherry-picks his own rants with the

legitimacy of a court caption on top in hopes that, even if his claims fail on the merits, he

can do damage to Defendants’ reputations.




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                   G. Fredin’s motion and discovery practice demonstrate bad faith.

         Across his lawsuits, Fredin has brought multiple rounds of unsuccessful motions to

disqualify counsel, motions for sanctions, and other miscellaneous requests which have

been consistently denied. Additionally, he has demonstrated a pattern of fabricating

evidence or otherwise misleading the courts. Some of his dishonesty is baseless and

harmless (for instance, his unfounded allegation that Middlecamp called the police on

Fredin’s family at the Mall of America, when no such thing occurred.) Others are more

malicious:

              • He has repeatedly cropped and combined unrelated tweets and included them
                in Court filings to assert that Middlecamp is anti-semitic. He has persisted in
                doing so even after Middlecamp testified in an evidentiary hearing that the
                image Fredin created combines two completely unrelated tweets which have
                been pasted together to mislead others. (See, e.g., Appellants Brief, 19-1726
                (8th Cir.) at 8 (containing Fredin’s misleading doctored image.))

              • Fredin has claimed to have video or audio recordings of interactions when
                no such evidence exists. (See, e.g., 18-CV-510, Doc. 115 at 15, 48)

              • Fredin has claimed in his pleadings to have no idea who the alleged rape
                victim (J.K.) is, when in fact he expressly requested communications
                between Middlecamp and J.K. in discovery he served in 2017. (See 17-3058,
                Docs. 204-1, 2014-2).

              • Fredin has, at various turns, denied, claimed to be unable to remember, and
                asserted a fifth amendment right to avoid questions about his own conduct
                despite being under oath. (See Breyer Decl., Exhibits. 4, 5, and 6.)

              • Fredin brought a specious motion for sanctions against Defendants alleging
                they had misused confidential information, without any evidence of such
                conduct by the Defendants. He was later sanctioned. (See 17-3058, Docs.
                134, 144.)

         In the pending lawsuits involving Defendants, Fredin refused to cooperate with

discovery and to this day has failed to appropriately search his devices and produce relevant

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evidence. For example, his brother testified under oath in state court that he had been

witness to extensive emails and other communications between Fredin and a third party,

Anthony Zappin, regarding Fredin’s grievances against the Defendants, but Fredin has not

produced a single communication with Zappin and refused to answer any questions about

Zappin during his deposition. (Compare Breyer Decl., Exhibit 16 (Ryan Fredin testifying

about communications between Fredin and Zappin) and (17-3048, Doc 114-1 at 23-25)

(excerpted deposition testimony in which Fredin refused to answer questions about

Zappin.))

         In short, Fredin’s discovery tactics are knowingly evasive and dishonest. He is not

afraid to withhold evidence, fabricate evidence, or even lie to create confusion and avoid

dismissal of his claims. These tactics are unacceptable in any venue, but particularly in

federal court.

         II.       THE COURT SHOULD ENTER AN ORDER REQUIRING
                   PLAINTIFF TO OBTAIN PRIOR COURT APPROVAL BEFORE
                   COMMENCING SUIT

         When a litigant engages in a pattern of filing frivolous claims, a court may enter an

order requiring a litigant to obtain court approval before filing future lawsuits. Sassower v.

Carlson, 930 F.2d 583, 584 (8th Cir. 1991). A restriction is particularly appropriate where

a defendant has had a full opportunity to adjudicate his claims such that further suits would

“uselessly consume” court resources. Ruderer v. United States, 462 F.2d 897, 899 (8th Cir.

1972).

          Defendants request that the Court enter an order with the following provisions:



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              • Enjoining Fredin from filing any civil action naming as parties or otherwise
                asserting allegations against the Defendants without first obtaining leave of
                court;

              • Enjoining Fredin from filing any civil action against judicial officers or
                clerks regarding their connection to suits involving the Defendants;

              • Requiring Fredin, in seeking leave to file any action as set forth above, to
                certify that the claim or claims he wishes to present are not frivolous,
                malicious, or brought in bad faith; and

              • Requiring Fredin, in seeking leave to file any action, to verify his pleadings
                under penalty of perjury.


                                        CONCLUSION

         For the reasons outlined above, Defendant respectfully asks that the Court declare

Fredin a vexatious litigant and issue an order restricting his ability to commence additional

lawsuits.

 Date: October 12, 2020                     KUTAK ROCK LLP

                                            By: /s/ K. Jon Breyer
                                            K. Jon Breyer (302259)
                                            60 South Sixth Street
                                            Suite 3400
                                            Minneapolis, Minnesota 55402
                                            Telephone: (612) 334-5057
                                            Jon.breyer@kutakrock.com

                                            Pro Bono Counsel to Defendants Lindsey
                                            Middlecamp, Grace Miller, and Catherine
                                            Schaefer




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